          Case
           Case2:13-cr-00257-RFB-PAL
                 2:13-cr-00257-LDG-PAL Document
                                       Document209  Filed03/24/17
                                                208 Filed 03/29/17 Page
                                                                    Page11
                                                                         ofof
                                                                            22



 1   STEVEN W. MYHRE
     Acting United States Attorney
 2   District of Nevada
     PAMELA A. MARTIN
 3   Assistant United States Attorney
     501 Las Vegas Boulevard South, Suite 1100
 4   Las Vegas, Nevada 89101
     Phone: 702-388-6336
 5   Email: pam.martin@usdoj.gov
     Attorneys for the United States of America
 6
                                 UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA
                                             -oOo-
 8

 9   UNITED STATES OF AMERICA,                      )
                                                    )      Case No.: 2:13-cr-00257-LDG-PAL
10                  Plaintiff,                      )
                                                    )
11   v.                                             )
                                                    )   MOTION TO DISMISS INDICTMENT
12   FNU LNU aka MATORRO,                           )       AND QUASH WARRANT
                                                    )
13                  Defendant.                      )
                                                    )
14                                                  )
15

16          COMES NOW the United States of America, by and through STEVEN W. MYHRE,

17   Acting United States Attorney, and PAMELA A. MARTIN, Assistant United States Attorney,

18   and files this Motion to Dismiss the Indictment and Quash the Arrest Warrant as to defendant

19   FNU LNU aka MATORRO only.

20          On July 3, 2013, a Criminal Indictment was filed charging defendant FNU LNU aka

21   MATORRO with various violations of the Controlled Substances Act. FNU LNU aka

22   MATORRO has never been identified by the Drug Enforcement Administration nor the United

23   States Marshals Service. Both agencies are unable to execute the Arrest Warrant in this matter.

24          Therefore, the United States respectfully requests that as to defendant FNU LNU aka

25

26
         Case
          Case2:13-cr-00257-RFB-PAL
                2:13-cr-00257-LDG-PAL Document
                                      Document209  Filed03/24/17
                                               208 Filed 03/29/17 Page
                                                                   Page22
                                                                        ofof
                                                                           22




 1   MATORRO only, the Indictment be dismissed as to him and the corresponding Arrest Warrant

 2   be quashed.

 3

 4          Dated this 24th day of March 2017.

 5                                               Respectfully submitted,
 6                                               STEVEN W. MYHRE
                                                 Acting United States Attorney
 7

 8
 9                                               /s/Pamela A. Martin
                                                 PAMELA A.MARTIN
10                                               Assistant United States Attorney
11   IT IS SO ORDERED.
12   DATED this _____ day of March, 2017.        _______________________________
13                                               HONORABLE LLOYD D. GEORGE
                                                 UNITED STATES DISTRICT JUDGE
14

15

16

17

18

19

20

21

22

23

24

25

26



                                                 2
